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                            UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                       ORLANDO DIVISION

   KATHLEEN HERALD,

                          Plaintiff,

   v.                                                            Case No: 6:19-cv-74-Orl-31GJK

   DELTA AIR LINES, INC.,

                          Defendant.


                                                 ORDER
          This cause comes before the Court sua sponte. On January 29, 2019, the magistrate judge

   entered an Order granting attorneys Brian R. Mildenberg and Gary Schafkopf permission to

   appear pro hac vice in the instant case (Doc. 10). In that order, said attorneys were directed to

   register for a CM/ECF login and password.      Mr. Mildenberg and Mr. Schafkopf have failed to

   comply and are therefore

          ORDERED to show cause to the Court by written response to be filed by March 20, 2019,

   why their pro hac vice status should not be revoked for failure to comply with the Court’s order.

          DONE and ORDERED in Chambers, Orlando, Florida on March 6, 2019.




                                                                                             


   Copies furnished to:

   Counsel of Record
   Unrepresented Party
